






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN



                       




NO. 3-92-204-CR




ANDREW JACKSON ALTIC,



	APPELLANT


vs.





THE STATE OF TEXAS,



	APPELLEE


                       



FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT


NO. 41,349, HONORABLE JACK W. PRESCOTT, JUDGE


                       





PER CURIAM

	Appellant pleaded guilty and judicially confessed to the offense of unauthorized use
of a vehicle.  Tex. Penal Code Ann. § 31.07 (1989).  Pursuant to a plea bargain agreement, the
district court assessed punishment at imprisonment for ten years.

	The transcript contains a written waiver of appeal signed by appellant, his attorney,
and the trial judge.  This document, which reflects a knowing and voluntary waiver of the right
to appeal, was signed on the day judgment and sentence were imposed in open court.

	A defendant who knowingly and intelligently waives his right to appeal may not
thereafter appeal without the consent of the trial court.  Ex parte Dickey, 543  S.W.2d 99 (Tex.
Crim. App. 1976).  See also Hurd v. State, 548  S.W.2d 388 (Tex. Crim. App. 1977);  Reed v.
State, 516  S.W.2d 680 (Tex. Crim. App. 1974).  There is nothing in the record to indicate that
appellant sought or obtained the permission of the trial court to pursue this appeal.


	The appeal is dismissed.



[Before Chief Justice Carroll, Justices Aboussie and B. A. Smith]

Dismissed

Filed:&nbsp; June 17, 1992

[Do Not Publish]


